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Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                        Chapter       11
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Hygea Holdings Corp.


2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                       Mailing address, if different from principal place of
                                                                                                    business
                                  8700 W Flagler St, Suite 280
                                  Miami, FL 33174

                                  Number, Street, City, State & ZIP Code                            P.O. Box, Number, Street, City, State & ZIP Code

                                  Miami-Dade                                                        Location of principal assets, if different from principal
                                  County                                                            place of business

                                                                                                    Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       http://www.hygeaholdings.com


6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                          Other. Specify:




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Debtor    Hygea Holdings Corp.                                                                           Case number (if known)
          Name


7.   Describe debtor's business         A. Check one:
                                               Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               Railroad (as defined in 11 U.S.C. § 101(44))
                                               Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                               None of the above

                                        B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                               Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                               Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                  6211

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                               Chapter 7
     debtor filing?
                                               Chapter 9
                                               Chapter 11. Check all that apply:
                                                                   Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                   are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                   business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                   statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                   procedure in 11 U.S.C. § 1116(1)(B).
                                                                   A plan is being filed with this petition.
                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                                   The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                                   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                               Chapter 12



9.   Were prior bankruptcy                  No.
     cases filed by or against
     the debtor within the last 8
     years?                             Yes.
     If more than 2 cases, attach a
     separate list.                                District                                 When                                  Case number
                                                   District                                 When                                  Case number

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                        Debtor     Please see Rider 1                                              Relationship            Affiliate
                                                   District   Delaware                      When                              Case number, if known




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Debtor    Hygea Holdings Corp.                                                                   Case number (if known)
          Name




11. Why is the case filed in    Check all that apply:
    this district?
                                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
                                           Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal
    property that needs         Yes.
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                               It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                               It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                               Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                               No


                                           Yes.        Insurance agency
                                                       Contact name
                                                       Phone


          Statistical and administrative information

13. Debtor's estimation of      .        Check one:
    available funds
                                            Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                            1,000-5,000                                 25,001-50,000
    creditors
                                    50-99                                           5001-10,000                                 50,001-100,000
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                             $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion




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/s/ J. Kate Stickles                      02/19/2020




/s/ Felice R. Yudkin         02/19/2020
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                                              RIDER 1

                        Pending Bankruptcy Cases Filed by Affiliated Entities

        On the date hereof, each of the related entities listed below (collectively, the “Debtors”),
including the debtor in this chapter 11 case, filed a petition in the United States Bankruptcy Court
for the District of Delaware (the “Court”) for relief under chapter 11 of title 11 of the United States
Code, 11 U.S.C. §§ 101-1532. A motion will be filed with the Court requesting that the chapter
11 cases of the entities listed below be consolidated for procedural purposes only and jointly
administered pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure.

 ALL CARE MANAGEMENT SERVICES, INC.
 FIRST HARBOUR HEALTH MANAGEMENT, LLC
 FIRST HARBOUR MEDICAL CENTERS, LLC
 FLORIDA GROUP HEALTHCARE LLC
 GEMINI HEALTHCARE FUND, LLC
 HYGEA ACQUISITION LONGWOOD, LLC
 HYGEA ACQUISITION ORLANDO, LLC
 HYGEA HEALTH HOLDINGS, INC.
 HYGEA HOLDINGS CORP.
 HYGEA IGP OF CENTRAL FLORIDA, INC.
 HYGEA IGP, LLC
 HYGEA MEDICAL CENTERS OF FLORIDA, LLC
 HYGEA MEDICAL PARTNERS, LLC
 HYGEA OF DELAWARE, LLC
 HYGEA OF GEORGIA, LLC
 HYGEA OF PEMBROKE PINES, LLC
 HYGEA PRIMUM ACQUISITION, INC.
 MEDLIFE ACTIVITY CENTER, LLC
 MOBILE CLINIC SERVICES, LLC
 PALM A.C. MSO, LLC
 PALM ALLCARE MEDICAID MSO, INC.
 PALM ALLCARE MSO, INC.
 PALM MEDICAL GROUP, INC.
 PALM MEDICAL MSO LLC
 PALM MEDICAL NETWORK, LLC
 PALM MSO SYSTEM, INC.
 PALM PGA MSO, INC.
 PHYSICIAN MANAGEMENT ASSOCIATES EAST COAST, LLC
 PHYSICIAN MANAGEMENT ASSOCIATES SE, LLC
 PHYSICIANS GROUP ALLIANCE, LLC
 PRIMUM ALTERNATIVES, INC.
 PRIMUM HEALTHCARE, LLC
 PROFESSIONAL HEALTH CHOICE, INC.




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                    SECRETARY’S CERTIFICATE FOR RESOLUTIONS OF
                               HYGEA HOLDINGS CORP.
                        ALL CARE MANAGEMENT SERVICES, INC.
                            HYGEA HEALTH HOLDINGS, INC.
                         HYGEA IGP OF CENTRAL FLORIDA, INC.
                           HYGEA PRIMUM ACQUISITION, INC.
                          PALM ALLCARE MEDICAID MSO, INC.
                              PALM ALLCARE MSO, INC.
                             PALM MEDICAL GROUP, INC.
                               PALM MSO SYSTEM, INC.
                                 PALM PGA MSO, INC.
                             PRIMUM ALTERNATIVES, INC.
                         PROFESSIONAL HEALTH CHOICE, INC.

       The undersigned, being the Secretary of Hygea Holdings Corp., a Nevada corporation
(“HHC”), and the following direct or indirect subsidiaries of HHC (collectively, the “Corporate
Subsidiaries”): All Care Management Services, Inc., a Florida corporation; Hygea Health
Holdings, Inc., a Florida corporation; Hygea IGP of Central Florida, Inc., a Florida corporation;
Hygea Primum Acquisition, Inc., a Florida corporation; Palm Allcare Medicaid MSO, Inc., a
Florida corporation; Palm Allcare MSO, Inc., a Florida corporation; Palm Medical Group, Inc., a
Florida corporation; Palm MSO System, Inc., a Florida corporation; Palm PGA MSO, Inc., a
Florida corporation; Primum Alternatives, Inc., a Florida corporation; and Professional Health
Choice, Inc., a Florida corporation, does hereby certify as follows:

         A special meeting of the Board of Directors (the “Board”) of HHC and the Boards of
         Directors of each of the Corporate Subsidiaries was held on February 12, 2020 at 5:30
         p.m. (ET) (the “Meeting”). Present at the Meeting were the following members of the
         Board: Daniel T. McGowan, Edward Moffly, Jack Mann, M.D., Glenn Marrichi, and
         Keith Collins, M.D., representing a quorum of the Board, and Keith Collins, M.D., in his
         capacity as sole director of each of the Corporate Subsidiaries.

         Attached hereto as Exhibit A is a true, correct and complete copy of the resolutions duly
         adopted at the Meeting (the “Resolutions”). The Resolutions have not been modified or
         rescinded in whole, in part or in any respect and are in full force and effect.

        IN WITNESS WHEREOF, the undersigned, in his capacity as Secretary of HHC and
each of the Corporate Subsidiaries, has duly executed and caused this certificate to be delivered
as of February 12, 2020.

                                              HYGEA HOLDINGS CORP.
                                              ALL CARE MANAGEMENT SERVICES, INC.
                                              HYGEA HEALTH HOLDINGS, INC.
                                              HYGEA IGP OF CENTRAL FLORIDA, INC.
                                              HYGEA PRIMUM ACQUISITION, INC.
                                              PALM ALLCARE MEDICAID MSO, INC.
                                              PALM ALLCARE MSO, INC.
                                              PALM MEDICAL GROUP, INC.
                                              PALM MSO SYSTEM, INC.


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                                           EXHIBIT A

      RESOLUTIONS OF THE BOARDS OF DIRECTORS (COLLECTIVELY, THE
            “BOARDS”) OF HYGEA HOLDING CORP. (“HHC”); AND

                ALL CARE MANAGEMENT SERVICES, INC.
                    HYGEA HEALTH HOLDINGS, INC.
                 HYGEA IGP OF CENTRAL FLORIDA, INC.
                   HYGEA PRIMUM ACQUISITION, INC.
                  PALM ALLCARE MEDICAID MSO, INC.
                       PALM ALLCARE MSO, INC.
                      PALM MEDICAL GROUP, INC.
                        PALM MSO SYSTEM, INC.
                          PALM PGA MSO, INC.
                      PRIMUM ALTERNATIVES, INC.
                 PROFESSIONAL HEALTH CHOICE, INC.
(THE “CORPORATE SUBSIDIARIES” AND TOGETHER WITH HHC AND THE LLC
       SUBSIDIARIES (AS DEFINED BELOW), EACH A “COMPANY” AND
                  COLLECTIVELY, THE “COMPANIES”)

                                        February 12, 2020


         1. Chapter 11 Filings

        The Boards, with the assistance of the management and legal and financial advisors of
the Companies, have previously evaluated and investigated potential strategies for the
restructuring and refinancing of the Companies, which included the potential filing of petitions
by the Companies seeking relief under the provisions of chapter 11 of title 11 of the United
States Code (the “Bankruptcy Code”).

         The Boards having considered, among other things, the liabilities and liquidity situation
of the Companies, the strategic alternatives available to the Companies and the effect of the
foregoing on the Companies’ businesses, have determined, after consultation with management
and the legal and financial advisors of the Companies, that it is desirable and in the best interests
of the Companies, their creditors and other parties in interest, that HHC, the Corporate
Subsidiaries and the following directly and indirectly owned subsidiaries of HHC, each of which
is managed by HHC (collectively, the “LLC Subsidiaries,” and together with the Corporate
Subsidiaries, the “Subsidiaries”): (i) First Harbour Health Management, LLC, a Florida limited
liability company; (ii) First Harbour Medical Centers, LLC, a Florida limited liability company;
(iii) Florida Group Healthcare LLC, a Florida limited liability company; (iv) Gemini Healthcare
Fund, LLC, a Florida limited liability company (v) Hygea Acquisition Longwood, LLC, a
Florida limited liability company; (vi) Hygea Acquisition Orlando, LLC, a Florida limited
liability company; (vii) Hygea IGP, LLC, a Florida limited liability company; (viii) Hygea
Medical Centers of Florida, LLC, a Florida limited liability company; (ix) Hygea Medical
Partners, LLC, a Florida limited liability company; (x) Hygea of Delaware, LLC a Delaware
limited liability company; (xi) Hygea of Georgia, LLC, a Georgia limited liability company;


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(xii) Hygea of Pembroke Pines, LLC, a Florida limited liability company; (xiii) Medlife Activity
Center, LLC, a Florida limited liability company; (xiv) Mobile Clinic Services, LLC, a Florida
limited liability company; (xv) Palm A.C. MSO, LLC, a Florida limited liability company; (xvi)
Palm Medical MSO LLC, a Florida limited liability company; (xvii) Palm Medical Network,
LLC, a Florida limited liability company; (xviii) Physician Management Associates East Coast,
LLC, a Florida limited liability company; (xix) Physician Management Associates SE, LLC, a
Florida limited liability company; (xx) Physicians Group Alliance, LLC, a Florida limited
liability company; (xxi) Physicians Group Alliance of South Florida, LLC, a Florida limited
liability company; and (xxii) Primum Healthcare, LLC, a Florida limited liability company, file
voluntary petitions for relief (the “Petitions”) under chapter 11 of the Bankruptcy Code in the
United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), for the
purpose of initiating bankruptcy cases (the “Bankruptcy Cases”). Accordingly, after discussion
of the foregoing, it was:

       RESOLVED, that Keith Collins, M.D., the Chief Executive Officer of HHC, or any
other officer, manager, member and board of directors member, as applicable, of each Company
(each an “Authorized Signatory” and collectively, the “Authorized Signatories”) is empowered,
authorized and directed, on behalf of each Company, to execute and verify the Petitions as well
as any other documents, schedules, motions, lists, applications, pleadings, orders and other
documents (the “Chapter 11 Filings”), to cause the Petitions and the Chapter 11 Filings to be
filed with the Bankruptcy Court, and to take and perform any further acts and deeds that such
Authorized Signatories deem necessary, appropriate or desirable in connection with the
Bankruptcy Cases, including, without limitation, directing the Subsidiaries to execute and verify
any such documents, schedules, motions, lists, applications, pleadings, orders and other
documents on behalf of other Subsidiaries in which the former has the authority to act, and
paying fees, expenses and taxes.

         RESOLVED FURTHER, that the Authorized Signatories of each Company are
empowered, authorized and directed to cause each Company to continue to conduct business
operations in the ordinary course during the pendency of the Bankruptcy Cases, subject to the
restrictions of the Bankruptcy Court and the obligations of HHC and the Subsidiaries, as
applicable, set forth in the RSA (as defined below).

         2. Restructuring Support Agreement

      The Boards next reviewed and discussed entering into a Restructuring Support
Agreement. After such discussion it was:

        RESOLVED, that in connection with the Bankruptcy Cases, the Boards have determined
it desirable and in the best interests of each Company, its creditors, and other parties in interest
that HHC and certain of the Subsidiaries, as applicable, enter into that certain Restructuring
Support Agreement (the “RSA”), by and among each of HHC and certain of the Subsidiaries on
one hand (collectively, the “Company RSA Parties”), and Bridging Income Fund LP (“Lender”)
and Bridging Finance, Inc. (“Administrative Agent”) on the other hand, substantially in the form
presented to the Boards in advance or on of the date hereof, and that each of the Company RSA
Parties shall be, and hereby are, authorized to enter into with RSA with such changes, additions
and modifications thereto as the Authorized Signatory executing the same shall approve, such

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approval to be conclusively evidenced by such the Authorized Signatory’s execution and
delivery thereof.

      RESOLVED FURTHER, that the Authorized Signatories of each Company RSA Party
are empowered, authorized and directed, with full power of delegation, on behalf of the
Company RSA Parties, to cause the Company RSA Parties to negotiate, execute and deliver the
RSA and any related documents contemplated thereby, in such form and with such on changes or
amendments as any such Authorized Signatory shall approve as necessary or desirable.

         3. Debtor-in-Possession Financing and Cash Collateral Use

       The Boards next reviewed and discussed debtor-in-possession financing and related
matters. After such discussion, it was:

        RESOLVED, that in connection with the Bankruptcy Cases, the Boards have determined
it desirable and in the best interests of each Company, its creditors, and other parties in interest
that HHC and certain Subsidiaries, as applicable, enter into that certain Debtor-in-Possession
Financing Term Sheet (the “DIP Term Sheet”), by and among each of HHC and certain of the
Subsidiaries, on one hand (collectively, the “Company DIP Parties”), and the Lender and the
Administrative Agent, on the other hand, substantially in the form presented to the Boards in
advance or on of the date hereof; and the Authorized Signatories of each Company DIP Party
are, and each of them is, authorized and empowered to obtain post petition financing according
to the terms of the DIP Term Sheet, including debtor-in-possession credit facilities and the use of
cash collateral (the “DIP Financing”); and to enter into any guarantees, to provide adequate
protection to the DIP Lender and incur obligations related thereto, and to pledge and grant liens
on the assets of the Companies, as may be contemplated by or required under the terms of such
DIP Financing; and in connection therewith, the Authorized Signatories of each Company DIP
Party are hereby authorized and directed to execute any appropriate loan agreements, cash
collateral agreements, related ancillary documents, supplemental agreements, instruments,
amendments, restatements, amendment and restatements, modifications, renewals, replacements,
consolidations, substitutions, extensions, bills, notes, or certificates on behalf of the Companies
which shall be necessary, proper or advisable in order to perform the obligations of the Company
DIP Parties under or in connection with any of the foregoing.

         4. Sale and Restructuring Transactions

       The Boards next reviewed and discussed sale and restructuring transactions. After such
discussion, it was:

        RESOLVED, that the Boards have determined, in light of current circumstances and
after consultation with management and the legal and financial advisors of the Companies, and
in connection with the filing of the Bankruptcy Cases, that it is in the best interests of each
Company, its creditors and other parties in interest to authorize the Companies to negotiate and
enter into one or more sale or other restructuring transactions (collectively, the “Transactions”).

     RESOLVED FURTHER, that the Authorized Signatories of each Company are
empowered, authorized and directed, with full power of delegation, on behalf of each Company,

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to take actions and negotiate or cause to be prepared and negotiated and to execute, deliver,
perform, and cause the performance of any agreements, certificates, instruments, receipts,
petitions, motions or other papers or documents in furtherance of the Transactions to which each
such Company is or will be a party, including, but not limited to, any asset purchase agreement,
chapter 11 plan, disclosure statement and ancillary documents related thereto (collectively, the
“Transaction Documents”).

        RESOLVED FURTHER, that the Authorized Signatories of each Company are
empowered, authorized and directed, with full power of delegation, on behalf of each Company,
to take any and all actions to (i) obtain Bankruptcy Court approval of the Transaction Documents
in connection with the Transactions and (ii) obtain Bankruptcy Court approval of any
Transactions.

        RESOLVED FURTHER, that the Authorized Signatories of each Company are
empowered, authorized and directed, with full power of delegation, on behalf of each Company
to take or cause to be taken any and all such further action and to execute and deliver or cause to
be executed or delivered, and to amend, supplement or otherwise modify from time to time, all
such further agreements, documents, certificates, statements, notices and other writings, and to
incur and to pay or direct payment of all such fees and expenses, as in his or her judgment shall
be necessary, appropriate or advisable to effectuate the purpose and intent of any and all of the
foregoing resolutions.

         5. Retention of Advisors

         The Boards next discussed the retention of professional advisors. After such discussion, it
was:

        RESOLVED, that the Authorized Signatories of each Company are empowered,
authorized and directed to continue to retain, on behalf of each Company, the law firm of Cole
Schotz P.C. (“Cole Schotz”) to render general legal advice and in the event that the Petitions are
filed, to represent the Companies in connection with such proceedings and all other related
matters in connection therewith, in such capacity and on such terms as the Authorized
Signatories may approve and/or have previously approved.

       RESOLVED FURTHER, that the Authorized Signatories of each Company are
empowered, authorized and directed to continue to retain, on behalf of each Company, Alvarez
& Marsal North America, LLC (“A&M”) to serve as financial advisor to the Companies and in
the event that the Petitions are filed, to continue to provide such services to the Companies in
connection with such proceedings and all other related matters in connection therewith, in such
capacity and on such terms as the Authorized Signatories may approve and/or have previously
approved.

       RESOLVED FURTHER, that the Authorized Signatories of each Company are
empowered, authorized and directed to continue to retain, on behalf of each Company, Epiq
Corporate Restructuring, LLC (“Epiq”) to serve as claims and noticing agent and administrative
agent to represent and assist the Companies in carrying out their duties under the Bankruptcy
Code, and to take any and all actions to advance the rights and obligations of the Companies in

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the Bankruptcy Cases, including with respect to noticing, claims management and reconciliation,
plan solicitation, balloting, disbursements and assisting with the preparation of the schedules of
assets and liabilities and statements of financial affairs of the Companies.

         RESOLVED FURTHER, that the Authorized Signatories of each Company are
empowered, authorized and directed, on behalf of each Company, to continue the employment
and retention of professionals in the ordinary course as long as they deem appropriate and in the
Bankruptcy Cases to retain and employ other attorneys, accountants and other professionals to
assist in the Bankruptcy Cases on such terms as are deemed necessary, proper or desirable.

        RESOLVED FURTHER, that the Authorized Signatories are empowered, authorized
and directed to execute any appropriate engagement letters and agreements and such other
documents necessary to retain Cole Schotz, A&M, Epiq and any other or additional financial
advisors, investment bankers, accountants, auditors, advisors, legal counsel and other
professionals not specifically identified herein (the “Professionals”), and to cause the Companies
to pay appropriate retainers to such Professionals prior to the filing of the Bankruptcy Cases or
after to the extent appropriate and permitted in the Bankruptcy Cases, and to cause to be filed
appropriate applications or motions seeking authority to retain and pay for the services of such
Professionals.

         6. General Authorization

             After discussion, it was:

        RESOLVED, that the Authorized Signatories of each Company are empowered,
authorized and directed, on behalf of each Company, to take, from time to time, any and all such
actions and to execute and deliver from time to time any and all such agreements, amendments,
instruments, requests, receipts, applications, reports, certificates and other documents, and to
execute, verify and file or cause to be filed all petitions, schedules, lists, motions, applications
and other papers and documents necessary or desirable in connection with the foregoing
resolutions, and to take any and all action deemed necessary, proper or desirable in connection
with the foregoing resolutions and to carry out and perform the purposes of the foregoing
resolutions.

        RESOLVED FURTHER, that the omission from the foregoing resolutions of any
agreement, document or other arrangement contemplated by any of the agreements, documents
or instruments described in the foregoing resolutions or any action to be taken in accordance
with any requirement of any of the agreements, documents or instruments described in the
foregoing resolutions shall in no manner derogate from the authority of the Authorized
Signatories to take all actions necessary, desirable, advisable or appropriate to consummate,
effectuate, carry out or further the transactions contemplated by, and the intent and purposes of,
the foregoing resolutions.

        RESOLVED FURTHER, that any and all actions lawfully done for and on behalf of the
Companies by any Authorized Signatory or Professional engaged by the Companies with respect
to any transactions contemplated by the foregoing resolutions, before or after their adoption, are



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ratified, authorized, approved, adopted in good faith, and consented to in all respects for all
purposes.

       RESOLVED FURTHER, that the foregoing resolutions were adopted at Special
Meetings of the Boards, and the directors present hereby waive all requirements as to notice of a
Special Meeting.




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------- x
                                                           :
In re:                                                     :   Chapter 11
                                                           :
HYGEA HOLDINGS CORP.                                       :   Case No. 20-_____ (___)
                                                           :
                  Debtor.                                  :   (Joint Administration Pending)
                                                           :
---------------------------------------------------------- x

                             CORPORATE OWNERSHIP STATEMENT

       Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the undersigned authorized officer of Hygea Holdings Corporation certifies that no entity owns
10% or more of its equity interests.




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